     Case 3:13-cv-01171-JLS-NLS Document 29 Filed 11/26/13 PageID.245 Page 1 of 3



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9    Attorneys for Plaintiff

10

11                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF CALIFORNIA
12

13   ALISHA LAWHORN, on behalf of               ) Case No. 3:13-cv-01171-JLS-NLS
     herself and all others similarly situated, )
14                                            )
15   Plaintiff,                               ) NOTICE OF SETTLEMENT
                                              )
16                                            )
            vs.
17                                            )
                                              )
18   MEDICREDIT, INC., and DOES 1             )
     through 10, inclusive, and each of them, )
19
                                              )
20   Defendants                               )
     __________________________________ ) ________________________________
21
            NOW COMES THE PLAINTIFF by and through his attorney to respectfully
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23
     notify this Honorable Court that this case has settled. Plaintiff requests that this

24   Honorable Court allow sixty (60) days with which to file dispositive documentation. A
25
     Voluntary Dismissal will be forthcoming. This Court shall retain jurisdiction over this
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27
     matter until fully resolved.

28   //



                                             Notice of Settlement - 1
     Case 3:13-cv-01171-JLS-NLS Document 29 Filed 11/26/13 PageID.246 Page 2 of 3



1               Respectfully submitted this 26th day of November, 2013.
2
                                         By: s/Todd M. Friedman
3                                           TODD M. FRIEDMAN
4
                                            Law Offices of Todd M. Friedman, P.C.
                                            Attorney for Plaintiff
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                                     Notice of Settlement - 2
     Case 3:13-cv-01171-JLS-NLS Document 29 Filed 11/26/13 PageID.247 Page 3 of 3



1                                                      PROOF OF SERVICE

2

3              I am employed in the County of Los Angeles, State of California. I am over the age of 18 and not a party to the
     within action. My business Address is 369 S. DOHENY DR. #415 BEVERLY HILLS, CA 90211.
4
               On November 26, 2013, I served the following document(s) described as: NOTICE OF SETTLEMENT, on all
5    interested parties in this action by placing:

              [X]      a true copy
6             [ ]      the original thereof enclosed in sealed envelope(s) addressed as follows:

7
     JUNE D. COLEMAN (CSBN 191890)
8    jcoleman@kmtg.com
     DANIELLE R. TEETERS (CSBN 210056)
9    dteeters@kmtg.com
     KRONICK, MOSKOVITZ, TIEDEMANN
10
     & GIRARD
11   400 Capitol Mall, 27th Floor
     Sacramento, CA 95814
12   Telephone: (916) 321-4500
     Facsimile: (916) 321-4555
13

14            BY Electronic Mail.

15
              [X]       STATE – I declare under penalty of perjury under the laws of the State of
              California that the above is true and correct.
16

17
              Executed on November 26, 2013, at BEVERLY HILLS, California.
18
                                                               By: /s/ Todd M. Friedman
19                                                                      Todd M. Friedman

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                                                       Notice of Settlement - 3
